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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
  --------------------------------- x
 UNITED STATES OF AMERICA           :
                                    :                S3 20-cr-188(JSR)
           -v-                      :
                                    :                   ORDER
RUBEN WEIGAND et al.,               :
                                    :
      Defendants.                   :
---------------------------------- x

JED S. RAKOFF, U.S.D.J.

        WHEREAS, trial is scheduled for March 1, 2021, and the parties

also have a Curcio hearing requiring defendant Weigand’s in-person

attendance;

        WHEREAS,   this   Court’s   prescribed   bail    conditions      permit

defendant Weigand to leave his apartment to meet his counsel under

the supervision of armed security, but require other exceptions to

be authorized by this Court, in writing, in advance.            ECF No. 112

at 7;

        WHEREAS, the defense has requested that defendant Weigand be

permitted to leave his apartment, under the supervision of an armed

security guard, in order to purchase court-appropriate attire in

preparation for trial and the forthcoming hearing;

        WHEREAS, Pretrial Services does not oppose this request; and

        WHEREAS, the Government takes no position on this request.

        IT IS HEREBY ORDERED that the Court authorizes defendant

Weigand’s limited travel, under the supervision of armed security

at all times, to a specific retail store or purveyor of clothing

in preparation for forthcoming court proceedings.
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     SO ORDERED.


Dated:   New York, NY                        -------------------------
         February 22, 2021                   JED S. RAKOFF, U.S.D.J.
